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May 1, 2025


VIA ECF
Hon. Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:         United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       Ms. Javice attaches hereto as exhibit A the below document, which is discussed in her
forthcoming motion for judgment of acquittal and a new trial. The Court precluded Ms. Javice
from entering this exhibit at trial.

      •     Exhibit A:          CJ-2174 (Trial Tr. 3144:19–3151:4; 3183:5–3185:3)


                                                                     Respectfully submitted,

                                                                     /s/ Sara C. Clark
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cc:         All Counsel of Record




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